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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP,

                                         Plaintiff,

 v.                                                     Case No. 1:19-cv-2173-CJN

 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES; RICHARD NEAL, in
 his official capacity as Chairman of the House
 Ways and Means Committee; ANDREW
 GROSSMAN, in his official capacity as Chief
 Tax Counsel of the House Ways and Means
 Committee; LETITIA JAMES, in her official
 capacity as Attorney General of New York
 State; and MICHAEL R. SCHMIDT, in his
 official capacity as Commissioner of the New
 York State Department of Taxation and
 Finance,

                                      Defendants.

      JOINT STIPULATION OF PLAINTIFF AND CONGRESSIONAL DEFENDANTS
        Two weeks ago, Plaintiff amended his complaint and, among other changes, added Richard

Neal and Andrew Grossman as defendants. These defendants have agreed to waive service, so their

deadline to file an answer is October 21, 2019. See Dkt. 33, 34. But the Committee on Ways and Means,

another congressional defendant represented by the same counsel, must file its answer by September

26, 2019. See Dkt. 18. To avoid duplicative filings and contradictory deadlines, Plaintiff and the

congressional defendants jointly stipulate that the deadline for the Committee’s answer should be

October 21, 2019. They ask the Court to enter an order extending the Committee’s deadline to that

date.




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Dated: August 27, 2019                                   Respectfully submitted,

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